 Case 17-30655    Doc 54    Filed 09/18/18 Entered 09/18/18 12:45:11      Desc Main
                              Document     Page 1 of 1




Dated: September 17, 2018
The following is SO ORDERED:


                                            ________________________________________
                                                         Paulette J. Delk
                                               UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________
                     UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION

  In Re: Jerone Alan Jackson            Case # 17-30655
         Debtors.                       Ch 13
  ________________________________________________________________
   ORDER ON MOTION TO APPROVE LOAN MODIFICATION & MODIFY PLAN
  ________________________________________________________________

         Upon Motion and no objection, the loan modification is hereby approved.
  The Court approves the Loan Modification with MTGLQ Investors LP, Rushmore
  Loan Management Services, LLC, POB 55004, Irvine, CA 92619 bringing this
  loan current and modifying the monthly payments to $786.08 or as adjusted from
  time to time by the mortgage company due to escrow changes.
         The ongoing mortgage is to paid through the plan and the arrearage
  payment shall be deleted as pertains to the real property at 4213 Indian Brook
  Cove, Memphis, TN 38125.
         The plan payment shall be reduced accordingly.

        IT IS SO ORDERED.
                                          /s/ Gwenthian Hewitt

        /s/ George W. Stevenson              5050 Poplar Ave, Ste 2400
        Chapter 13 Trustee                   Memphis, TN 38157
                                             901-864-9977
                                  Certificate of Service
  I hereby certify that on 9/13/18 a copy of the foregoing has been sent by US Mail
  or electronic delivery to: MTGLQ Investors LP, Rushmore Loan Management
  Services, LLC, POB 55004, Irvine, CA 92619
  Debtor
  Matrix
  Creditor
  /s/ Gwenthian Hewitt
